      Case 1:11-cr-00255-TWT-RGV Document 560 Filed 12/13/12 Page 1 of 9




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 UNITED STATES OF AMERICA


 v.                                             CRIMINAL CASE NO.

                                                1:11-cr-00255-TWT-RGV
 ASHLEY HENDERSON


       ORDER FOR SERVICE OF REPORT AND RECOMMENDATION

       Attached is the Report and Recommendation of the United States Magistrate

Judge made in accordance with 28 U.S.C. § 636(b)(1) and Local Criminal Rule

59(2)(a)-(b). Let the same be filed and a copy, with a copy of this Order, be served

upon counsel for the parties.

       Pursuant to 28 U.S.C. § 636(b)(1), each party may file written objections, if any,

to the Report and Recommendation within fourteen (14) days of receipt of this

Order. Should objections be filed, they shall specify with particularity the alleged

error(s) made (including reference by page number to the transcript if applicable)

and shall be served upon the opposing party. The party filing objections will be

responsible for obtaining and filing the transcript of any evidentiary hearing for

review by the District Court. Failure to object to this Report and Recommendation

waives a party’s right to review. Fed. R. Crim. P. 59(b)(2).
     Case 1:11-cr-00255-TWT-RGV Document 560 Filed 12/13/12 Page 2 of 9




      Pursuant to Title 18, U.S.C. § 3161(h)(1)(D) and (H), the above-referenced

fourteen (14) days allowed for filing objections is EXCLUDED from the

computation of time under the Speedy Trial Act, whether or not objections are

actually filed. The Clerk is DIRECTED to submit the Report and Recommendation

with objections, if any, to the District Court after expiration of the above time period.

      IT IS SO ORDERED and DIRECTED, this 13th day of December, 2012.




                                         RUSSELL G. VINEYARD
                                         UNITED STATES MAGISTRATE JUDGE




                                           2
      Case 1:11-cr-00255-TWT-RGV Document 560 Filed 12/13/12 Page 3 of 9




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 UNITED STATES OF AMERICA


 v.                                              CRIMINAL CASE NO.
                                                 1:11-cr-00255-TWT-RGV
 ASHLEY HENDERSON


           MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

       Defendant Ashley Henderson (“Henderson”) is charged in a fifteen-count

indictment with (1) unlawfully obstructing, delaying, and interfering with interstate

commerce by taking personal property in the custody and control of armored car

couriers by means of actual and threatened force, violence, and fear of injury, and

conspiring to do so, in violation of 18 U.S.C. §§ 1951 and 2; (2) carrying and using

a firearm in relation to a crime of violence, in violation of 18 U.S.C. §§ 924(c)(1)(A)(ii)

and 2; and (3) causing the death of a person through using a firearm in relation to

a crime of violence, in violation of 18 U.S.C. §§ 924(c)(1)(A), 924(j)(1), and 2. See

[Doc. 312].1




       1
        The document and page numbers listed in citations to the record refer to the
documents and pages listed in the Adobe file reader linked to this Court’s electronic
filing database, CM/ECF.
     Case 1:11-cr-00255-TWT-RGV Document 560 Filed 12/13/12 Page 4 of 9




      On October 13, 2011, Henderson filed a preliminary motion for dismissal of

the indictment due to discrimination in the selection of the grand jury, [Doc. 190],

and a preliminary motion challenging the petit jury selection process, [Doc. 191].

Following additional discovery, he filed a perfected motion to dismiss for

constitutionally infirm grand jury selection on August 31, 2012. [Doc. 484]; see also

[Doc. 517-1 (expert’s statistical analysis offered in support of motion)].2 The

government has filed a response to Henderson’s motion, [Doc. 549], to which

Henderson has replied, [Doc. 556].3           For the following reasons, it is


      2
        The Court ordered Henderson to perfect both of his motions related to jury
selection by August 31, 2012. See [Doc. 470]. Since he has not filed a perfected
motion related to the petit jury selection process, he has waived any challenge
thereto and it is therefore RECOMMENDED that Henderson’s motion challenging
the petit jury selection process, [Doc. 191], be DENIED. See [Doc. 47 at 15 (noting
that “[w]hen a party fails to supplement or perfect a motion within the time afforded
after having requested or been given an opportunity to supplement or perfect said
motion, the Court may deem the original motion abandoned or withdrawn”)]; see
also United States v. Cintora-Gonzalez, Criminal Case No. 1:12-cr-00078-ODE-RGV,
2012 WL 4403000, at *2 (N.D. Ga. Aug. 10, 2012), adopted by 2012 WL 44081000, at
*1 (N.D. Ga. Sept. 21, 2012) (citations omitted).
      3
        The government also filed a surreply on December 5, 2012. See [Doc. 558].
However, “[n]either the Federal Rules nor the Court’s Local Rules allow sur-reply
briefs as a matter of right, and the Court normally does not permit sur-replies.”
USMoney Source, Inc . v. Am. Int’l Specialty Lines Ins. Co., No. 1:07-cv-0682-WSD,
2008 WL 160709, at *2 n.5 (N.D. Ga. Jan. 15, 2008), rev’d on other grounds, 288 F.
App’x 558 (11th Cir. 2008) (per curiam) (unpublished) (citation omitted); see also
Leatherwood v. Anna’s Linens Co., 384 F. App’x 853, 857 (11th Cir. 2010) (per
curiam) (unpublished) (citation omitted). “Although the Court may in its discretion
permit the filing of a surreply, this discretion should be exercised in favor of
allowing a surreply only where a valid reason for such additional briefing exists,

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     Case 1:11-cr-00255-TWT-RGV Document 560 Filed 12/13/12 Page 5 of 9




RECOMMENDED that Henderson’s motion challenging the grand jury selection

as unconstitutional, [Doc. 190], be DENIED.

      The Sixth Amendment to the United States Constitution guarantees a criminal

defendant the right to a jury selected from a group representing a fair cross-section

of the community. Duren v. Missouri, 439 U.S. 357, 364 (1979); United States v.

Terry, 60 F.3d 1541, 1543 (11th Cir. 1995) (citing Taylor v. Louisiana, 419 U.S. 522,

528-30 (1975)). Henderson contends that the method of selecting jurors in the

Northern District of Georgia violates this “fair cross-section” right because it results

in an underrepresentation of African-Americans on grand juries. See generally [Doc.

484]. Specifically, he asserts that the method implemented to create the Qualified

Participants List from which grand jurors are ultimately selected results in an

underrepresentation of individuals from the Atlanta Division, where 86.90 percent

of the African-Americans in the Northern District of Georgia live, and an

overrepresentation of the Newnan Division, where only 7.12 percent of the African-



such as where the movant raises new arguments in its reply brief.” Fedrick v.
Mercedes-Benz USA, LLC, 366 F. Supp. 2d 1190, 1997 (N.D. Ga. 2005 ) (citations
omitted); see also St. James Entm’t LLC v. Dash Crofts, Civil Action No.
1:09-CV-1975-RWS, 2010 WL 2802616, at *1 (N.D. Ga. July 13, 2010) (“Certainly, the
Court is disinclined to consider arguments raised in a surreply which could have
been raised in an earlier filing.”). The government’s surreply only addresses
Henderson’s earlier request for an evidentiary hearing. See generally [Doc. 558]; see
also [Doc. 484]. Accordingly, the Court has not considered the arguments raised in
the government’s surreply.

                                           3
     Case 1:11-cr-00255-TWT-RGV Document 560 Filed 12/13/12 Page 6 of 9




Americans in the Northern District of Georgia live, and as a result creates an

underrepresentation of African-Americans on grand juries. See [id. at 5-6]; see

also [Doc. 517-1 at 5-7].

      To demonstrate a prima facie violation of the fair cross-section requirement,

Henderson must establish:

      (1) that the group alleged to be excluded is a “distinctive” group in the
      community; (2) that the representation of this group in venires from
      which juries are selected is not fair and reasonable in relation to the
      number of such persons in the community; and (3) that this
      underrepresentation is due to systematic exclusion of the group in the
      jury-selection process.

Duren, 439 U.S. at 364; see also Castaneda v. Partida, 430 U.S. 482, 494 (1977)

(describing the third prong of the test as a showing that the “selection procedure is

susceptible of abuse or is not racially neutral”). “The burden of proving a fair-cross-

section violation falls on [Henderson].” United States v. LeCroy, Criminal Action

No. 2:02-CR-38-RWS-SSC, Civil Action No. 2:08-CV-2277-RWS, 2012 WL 1114238,

at *59 (N.D. Ga. Mar. 30, 2012) (internal marks omitted) (quoting Berryhill v. Zant,

858 F.2d 633, 638 (11th Cir. 1988)). If Henderson “fails to establish even one element

of the prima facie case, then the Sixth Amendment ‘fair cross-section’ challenge




                                          4
     Case 1:11-cr-00255-TWT-RGV Document 560 Filed 12/13/12 Page 7 of 9




fails.” Id. (emphasis omitted) (citing United States v. Pepe, 747 F.2d 632, 649 (11th

Cir. 1984)).4

       Even if Henderson could establish the first and third elements of his challenge

by showing that the group alleged to be excluded is distinctive5 and that systematic

exclusion of the group is occurring in the jury selection process,6 his challenge still

fails because he cannot show that the representation of African-Americans is not fair

and reasonable in relation to the number of such persons in the community. See

Duren, 439 U.S. at 364 (citations omitted). With respect to determining whether

representation of a group is reasonable, the Eleventh Circuit has consistently found



       4
       To the extent Henderson asserts a statutory fair cross-section violation under
28 U.S.C. § 1861, the same analysis governs his claim. See United States v.
Carmichael, 560 F.3d 1270, 1278 (11th Cir. 2009) (citation omitted).
       5
          Henderson identifies this group as “African-Americans,” which are
considered a distinct class for purposes of a fair cross-section challenge. See [Doc.
484 at 7]; see also Cunningham v. Zant, 928 F.2d 1006, 1013 (11th Cir. 1991) (citations
omitted) (“ . . . African-Americans are distinctive community groups within the
meaning of Duran.”). However, the government points out that what Henderson
actually asserts “is an underrepresentation of the Atlanta Division and an
overrepresentation of the Newnan Division, and therefore, an underrepresentation
of African-Americans that reside in the Atlanta Division” and he “fails to present
any evidence sufficient to show that the Atlanta Division, in and of itself, . . .
represents a distinct class for purposes of a fair cross-section claim.” [Doc. 549 at 5-
6].
       6
        The government points out that Henderson has offered “no specific or
particular evidence of exclusion of African-Americans attributable to the system of
selecting potential grand jurors in the Northern District of Georgia.” [Doc. 549 at 9].

                                           5
     Case 1:11-cr-00255-TWT-RGV Document 560 Filed 12/13/12 Page 8 of 9




that a prima facie case of underrepresentation cannot be made where the absolute

disparity7 between the percentage of the distinct group on the Qualified Jury Wheel

and the percentage in the voter population is less than ten percent. See Grisham, 63

F.3d at 1078-79 & n.4 (citations omitted) (stating that “[i]f the absolute disparity. . .

is 10 percent or less, the second element [of the fair cross-section challenge] is not

satisfied” and noting that only the Supreme Court or the Eleventh Circuit sitting en

banc has the power to overrule to 10 percent absolute disparity requirement); United

States v. Rodriguez, 776 F.2d 1509, 1511 (11th Cir. 1985) (citations omitted). Here,

Henderson’s evidence shows that the absolute disparity of African-Americans

ranged from 3.77 percent to 7.10 percent. [Doc. 517-1 at 18]. Accordingly, he cannot

make out a case for a fair cross-section violation, and it is therefore




      7
        Absolute disparity is calculated by subtracting the percentage of a group in
the jury wheel from the percentage of the eligible voters from that same group in the
general population. See United States v. Grisham, 63 F.3d 1074, 1079 (11th Cir.
1995); LeCroy, 2012 WL 1114238, at *60 (citation omitted). To the extent Henderson
and his expert assert that comparative disparity should be considered instead of the
absolute disparity measure, the Eleventh Circuit has explicitly rejected this
approach. See Pepe 747 F.2d at 649 n.18 (citing United States v. Maskeny, 609 F.2d
183, 190 (5th Cir. 1980) (rejecting comparative disparity and standard deviation
analysis where, as here, the group being discriminated against was not so small as
to permit “total exclusion . . . of a minority that comprised less than ten percent of
the population of the community”)). Decisions of the Fifth Circuit rendered before
October 1, 1981, are binding upon panels of the Eleventh Circuit. Bonner v. City of
Prichard, Ala., 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc).

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     Case 1:11-cr-00255-TWT-RGV Document 560 Filed 12/13/12 Page 9 of 9




RECOMMENDED that Henderson’s motion challenging grand jury selection as

unconstitutional, [Doc. 190], be DENIED.8

      IT IS SO RECOMMENDED, this 13th day of December, 2012.




                                         RUSSELL G. VINEYARD
                                         UNITED STATES MAGISTRATE JUDGE




      8
         Henderson requested a hearing on this motion wherein his expert would
“discuss his research and findings” and “introduce those exhibits which support
[his] statistical analysis.” [Doc. 484 at 2 n.1]; see also [Doc. 556 at 4 (noting that the
fair and reasonable representation and systematic discrimination elements of the fair
cross-section challenge are “too complex to be resolved in briefings and require the
testimony of counsel’s grand jury expert”)]. However, Henderson’s expert’s
findings regarding absolute disparity are clear from the report he submitted as
evidence in support of his motion, see [Doc. 517-1], and given that Eleventh Circuit
precedent clearly establishes both that absolute disparity is the relevant measure and
that it must reach at least ten percent to establish a prima facie case, it is clear from
the evidence before the Court that Henderson’s motion is due to be denied without
further factual development in an evidentiary hearing. Accordingly, Henderson’s
request for an evidentiary hearing on this motion is DENIED. See Terry, 60 F.3d at
1544 n.2 (holding that the district court did not abuse its discretion by denying
defendant a hearing with respect to his fair cross-section claim, “[b]ecause no set of
facts that could have been developed in an evidentiary hearing would be significant
legally in light of [] precedent . . .”).

                                            7
